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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ISAIAH PAYNE, Individually And On Behalf Of             Case No.: 1:20-cv-03792-DLF
 All Others Similarly Situated,
                                                         JOINT MEET
                         Plaintiff,                      AND CONFER REPORT

                 v.

 HOWARD UNIVERSITY,

                         Defendant.


       The parties to the above-captioned matter, through their respective counsel of record,

jointly submit this Joint Meet and Confer Report pursuant to Local Rule 16.3(d), Fed. R. Civ. P.

26(f), and the Court’s May 25, 2022 Minute Order.

                                        BACKGROUND

       Plaintiff brought a proposed class action against Defendant Howard University (“Howard”)

following Howard’s transition from in-person educational services to remote educational services

as a result of the onset of the COVID-19 pandemic. Plaintiff alleges that Howard moved classes

to an online format, closed campus buildings, and ordered students to leave campus without

providing reimbursement for in-person tuition and mandatory fees. See Pl.’ First Am. Compl. ¶ 1,

Dkt. No. 19 (“FAC”).

       Plaintiff brought claims for breach of contract, FAC ¶¶ 59–71, and, in the alternative, unjust

enrichment, id. ¶¶ 72–77, and conversion, id. ¶¶ 78-85. Howard filed a Motion to Dismiss (Dkt.

No. 36), which the Court granted as to the conversion claim, but denied as to the breach of contract

and unjust enrichment claims. Dkt. No. 41.

       Thereafter, on Howard’s Motion for Certification Under 28 U.S.C. § 1292(b) and Stay of
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Further Proceedings (Dkt. No. 43), the Court stayed this case pending the outcome of appeals in

other cases involving COVID-19 university closures captioned Shaffer v. George Washington

University, No. 21-7040 (D.C. Cir.), and Qureshi v. American University, No. 21-7064 (D.C. Cir.).

Dkt, No. 48 (the “Stay Order”). The Stay Order noted that even a reversal by the D.C. Circuit of

the district courts’ dismissal rulings in Shaffer and Qureshi cases “would provide meaningful

guidance to the parties in th[is] case[] in resolving possible motions for judgment on the pleadings

after the answer is filed or dictating the scope and nature of discovery.” Id. at 4.

       The D.C. Circuit issued its opinion on March 8, 2022, essentially finding that the Shaffer

plaintiffs had stated claims for breach of an implied contract and unjust enrichment but had not

stated claims for breach of an express contract or conversion. See Shaffer v. George Washington

Univ., 27 F.4th 754 (D.C. Cir. 2022). This case is now ready to proceed.

       Local Rule 16.3(d) Categories of Information:

        1.     Whether the case is likely to be disposed of by dispositive motion; and whether,
if a dispositive motion has already been filed, the parties should recommend to the Court
that discovery or other matters should await a decision on the motion.

Plaintiff’s Position

       Plaintiff believes the action will be resolved at trial, though there will be a motion to certify

the action as a class action, and it is likely there will be motion(s) and cross-motions for summary

judgment. Defendant has also expressed that it will file a motion for partial judgment on the

pleadings.

       In response to Defendant’s proposal that discovery should remain stayed pending

resolution of its forthcoming motion for partial judgment on the pleadings, it is Plaintiff’s position

that discovery should move forward. Plaintiff Payne filed his claims over two years ago, on May

27, 2020, and this case has already been stayed pending resolution of certain appeals in similar



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cases. It is time to move forward with the discovery process, and Defendant does not cite any

reason why discovery cannot move forward while the Court decides its motion for partial judgment

on the pleadings.

Defendant’s Position

       Howard believes this case can be disposed of by a combination of dispositive motions,

including the Rule 12(c) motion for partial judgment on the pleadings Howard intends to file by

June 21, 2022, and one or more Rule 56 motions for summary judgment Howard anticipates filing

at the appropriate time. Howard proposes that discovery be deferred while the Court considers

Howard’s motion for partial judgment on the pleadings, which will seek dismissal of Plaintiff’s

breach of contract claim based on discharge – specifically, Howard’s affirmative defense that any

supposed contractual duty to provide in-person educational services was discharged by the

pandemic and Mayor Bowser’s emergency declarations and mandatory stay-at-home order. As

the D.C. Circuit noted in Shaffer, universities “likely have compelling arguments to offer that the

pandemic and resulting government shutdown orders discharged their duties to perform the[ ]

alleged promises,” which district courts “should resolve in the first instance.” Shaffer, 27 F.4th at

760; see also id. at 765 (noting that “the Universities may still have strong arguments that the

pandemic and resulting government-issued shutdown orders discharged their duties to perform”

that the court should resolve “in the first instance”).      If successful, Howard’s motion will

significantly streamline the issues and claims in this case, as well as the scope and nature of

discovery, as this Court contemplated in its Stay Order.




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      2.     The date by which any other parties shall be joined or the pleadings amended,
and whether some or all the factual and legal issues can be agreed upon or narrowed.

Plaintiff’s Position

       Plaintiff proposes July 31, 2022.

Defendant’s Position

       If Plaintiff amends his complaint, Howard proposes that its responsive pleading to that

amended complaint be due 21 days later.

       If Howard’s responsive pleading is an answer, Howard proposes that it refile its motion for

partial judgment on the pleadings (if necessary) within seven days of filing its answer. If Howard’s

responsive pleading is a motion to dismiss, Howard proposes that it file its answer within 14 days

of the Court’s ruling on the motion to dismiss and that it refile its motion for partial judgment on

the pleadings (if necessary) within 21 days of the Court’s ruling on the motion to dismiss.


       3.      Whether the case should be assigned to a magistrate judge for all purposes,
including trial.

Joint Position

       The parties do not consent to assignment of this case to a magistrate judge for all purposes.


       4.        Whether there is a realistic possibility of settling the case.

Plaintiff’s Position

       No settlement discussions have occurred to date. Plaintiff is prepared in good faith to

attempt to negotiate a settlement and/or mediate the case before a neutral mediator.

Defendant’s Position

       Howard believes it is premature to engage in settlement discussions at this time.




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        5.     Whether the case could benefit from the Court’s alternative dispute resolution
(ADR) procedures (or some other form of ADR); what related steps should be taken to
facilitate such ADR; and whether counsel have discussed ADR and their response to this
provision with their clients.

Plaintiff’s Position

        Following the informal exchange of information related to damages and the amount in

controversy, Plaintiff is prepared to participate in a private mediation in the near future or at a later

date if Defendant is unwilling to participate in a mediation at this juncture.

Defendant’s Position

         Howard is open to considering mediation at an appropriate time but believes it is

premature at this time.

       6.      Whether the case can be resolved by summary judgment or motion to dismiss;
dates for filing dispositive motions and/or cross-motions, oppositions, and replies; and
proposed dates for a decision on the motions.

Plaintiff’s Position

        The Court largely denied Defendant’s motion to dismiss. Dkt. No. 41. Defendant has

answered. Dkt. No. 50. Discovery should proceed with a view towards the filing of a motion for

class certification, possible motions for summary judgment, and eventual trial.

Defendant’s Position

        As noted above, Howard believes this case can be disposed of by a combination of

Howard’s anticipated motion for partial judgment on the pleadings and motion(s) for summary

judgment.

        Howard intends to file its motion for partial judgment on the pleadings by June 21, 2022,

and proposes that Plaintiff’s opposition be due on July 19, 2022, with Howard’s reply due on

August 2, 2022. Howard’s counsel will make themselves available for oral argument on this

motion if and as the Court deems it warranted, at the Court’s convenience.


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       Howard expects to file one or more motions for summary judgment on any claims that

remain after the Court rules on its motion for partial judgment on the pleadings just after or before

the close of discovery and will meet and confer with Plaintiff’s counsel on a briefing schedule

before filing its summary judgment motion(s).


       7.     Whether the parties should stipulate to dispense with the initial disclosures
required by Fed. R. Civ. P. 26(a)(1), and if not, what if any changes should be made in the
scope, form or timing of those disclosures.

Joint Position

       The parties have agreed to exchange initial disclosures on June 21, 2022.


        8.    The anticipated extent of discovery, how long discovery should take, what
limits should be placed on discovery; whether a protective order is appropriate; and a date
for the completion of all discovery, including answers to interrogatories, document
production, requests for admissions, and depositions.

Plaintiff’s Position

       Discovery should proceed immediately on Plaintiff’s breach of contract claims and his

claims for unjust enrichment. Standard and appropriate confidentiality agreements, document

preservation agreements, and ESI protocols should be implemented. There should be standard

written discovery such as document demands and interrogatories, to be followed by depositions,

all in conformity with the Federal Rules of Civil Procedure.

       Plaintiff proposes a fact discovery cut-off of June 2, 2023. In response to Defendant’s

proposal that discovery should remain stayed pending resolution of its forthcoming motion for

partial judgment on the pleadings, it is Plaintiff’s position that discovery should move forward.

Plaintiff Payne filed his claims over two years ago, on May 27, 2020, and this case has already

been stayed pending resolution of certain appeals in similar cases. It is time to move forward with




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the discovery process, and Defendant does not cite any reason why discovery cannot move forward

while the Court decides its motion for partial judgment on the pleadings.

Defendant’s Position

       Howard proposes that discovery be temporarily deferred until after the Court rules on

Howard’s motion for partial judgment on the pleadings, as that ruling will meaningfully shape the

contours of discovery. At that time the parties can promptly submit a proposed schedule for

completing discovery on any remaining claims and defenses.


      9.      Any issues about disclosure, discovery, or preservation of electronically stored
information, including the form or forms in which it should be produced.

Joint Position

       The parties anticipate negotiating an ESI protocol to be presented to the Court for approval.


       10.    Any issues about claims of privilege or of protection as trial-preparation
materials, including – if the parties agree on a procedure to assert these claims after
production – whether to ask the court to include their agreement in an order under Federal
Rule of Evidence 502.

Joint Position

       The parties will confer on appropriate language under Federal Rule of Evidence 502 to

govern the inadvertent disclosure of privileged or protected information for inclusion in a

confidentiality agreement and proposed order, which the parties will present to the Court for

consideration.


       11.     Whether the requirement of exchange of expert witness reports and
information pursuant to Fed. R. Civ. P. 26(a)(2), should be modified, and whether and when
depositions of experts should occur.

Plaintiff’s Position




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       Plaintiff does not believe that there should be any modifications to the normal procedures

concerning expert reports and discovery. Plaintiff proposes that the parties exchange initial expert

report on July 7, 2023, rebuttal expert reports on August 11, 2023, and complete expert discovery

by September 8, 2023.

Defendant’s Position

       Howard proposes that discovery be temporarily deferred until after the Court rules on

Howard’s motion for partial judgment on the pleadings, as that ruling will meaningfully shape the

contours of discovery. At that time the parties can promptly submit a proposal schedule for

completing discovery on any remaining claims and defenses.


       12.    In class actions, appropriate procedures for dealing with Rule 23, Fed .R. Civ.
P. proceedings, including the need for discovery and the timing thereof, dates for filing a
Rule 23 motion, and opposition and reply, and for oral argument and/or an evidentiary
hearing on the motion and a proposed date for decision.

Plaintiff’s Position

       Plaintiff proposes that he file his motion for class certification on February 16, 2023. As

discussed above, it is Plaintiff’s position that discovery should not be stayed or deferred.

Defendant’s Position

       Howard proposes that discovery, class discovery included, be temporarily deferred until

after the Court rules on Howard’s motion for partial judgment on the pleadings, as that ruling will

meaningfully shape the contours of discovery. At that time the parties can promptly submit a

proposed schedule for completing discovery, class discovery included, on any remaining claims

and defenses and on matters of class certification.




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       13.     Whether the trial and/or discovery should be bifurcated or managed in phases,
and a specific proposal for such bifurcation.

Plaintiff’s Position

       Plaintiff opposes any bifurcation of discovery or any other aspect of this litigation.

Defendant’s Position

       See responses above. In Shaffer, the D.C. Circuit counseled what amounts to a form of

bifurcation, or at least sequencing, upon remand, with the issue of discharge as to the breach of

contract claim being resolved “in the first instance.” Shaffer, 27 F.4th at 760, 765. Howard

proposes that this Court honor this guidance, which, in addition to being the D.C. Circuit’s

directive, is sensible, efficient, and in keeping with Federal Rules 1 and 26 and the Court’s inherent

authority to manage its docket.


       14.     The date for the pretrial conference (understanding that a trial will take place
30 to 60 days thereafter).

Plaintiff’s Position

       Plaintiff proposes a pretrial conference during the week of January 15, 2024.

Defendant’s Position

       Howard proposes that the parties meet and confer on a proposed date for a pretrial

conference after the Court rules on its motion for partial judgment on the pleadings.


       15.     Whether the Court should set a firm trial date at the first scheduling
conference or should provide that a trial date will be set at the pretrial conference from 30
to 60 days after that conference.

Joint Position

       The parties agree that a trial date should be set at the pretrial conference.




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        16.   Such other matters that the parties believe may be appropriate for inclusion
in a scheduling order.

Joint Position

       None at this time.

Plaintiff’s Proposed Scheduling Order

It is hereby ORDERED that the parties shall adhere to the following deadlines:

   •   Deadline to Exchange Initial Disclosures: June 21, 2022

   •   Deadline to Amend the Pleadings: July 31, 2022

   •   Deadline to Join Additional Parties: July 31, 2022

   •   Deadline for Plaintiff’s Motion for Class Certification (and Class Certification Expert

       Reports): February 16, 2023

   •   Deadline for Defendant’s Opposition to Class Certification (and Class Certification

       Opposition Expert Reports) March 16, 2023

   •   Deadline for Plaintiff’s Reply in support of Class Certification (and Class Certification

       Rebuttal Expert Reports) April 20, 2023

   •   Fact Discovery Cut-off: June 2, 2023

   •   Initial Expert Disclosures: July 7, 2023

   •   Rebuttal Expert Disclosures: August 11, 2023

   •   Close of Expert Discovery: September 8, 2023

   •   Deadline for Dispositive Motions: October 6, 2023

   •   Deadline for Oppositions to Dispositive Motions: November 9, 2023

   •   Deadline for Replies in Support of Dispositive Motions: December 8, 2023

   •   Pretrial Conference: January 15, 2024




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Defendant’s Position

       Howard agrees with the proposed dates for the exchange of initial disclosures and to amend

the pleadings and join any additional parties. As to Plaintiff’s remaining proposed dates, Howard

proposes that the parties meet and confer and promptly present the Court a proposed case

scheduling order once the Court rules on Howard’s motion for partial judgment on the pleadings,

as that ruling will meaningfully shape the remainder of this litigation.




Dated: June 7, 2022                           SILVERMAN THOMPSON SLUTKIN &
                                              WHITE, LLC

                                      By:     /s/ William N. Sinclair
                                              William N. Sinclair (State Bar No. 28833)
                                              201 N. Charles St., Suite 2600
                                              Baltimore, MD 21201
                                              Telephone: (410) 385-2225
                                              Facsimile: (410) 547-2432
                                              Email: bsinclair@silvermanthompson.com

                                              BURSOR & FISHER, P.A.
                                              L. Timothy Fisher (pro hac vice app. forthcoming)
                                              Neal J. Deckant (pro hac vice app. forthcoming)
                                              1990 North California Blvd., Suite 940
                                              Walnut Creek, CA 94596
                                              Telephone: (925) 300-4455
                                              Facsimile: (925) 407-2700
                                              Email: ltfisher@bursor.com
                                              ndeckant@bursor.com

                                              Attorneys for Plaintiff

                                              Tracy A. Roman
                                              Laurel Pyke Malson
                                              Scott L. Winkelman
                                              Astor H.L. Heaven, III
                                              CROWELL & MORING LLP
                                              1001 Pennsylvania Avenue, NW
                                              Washington, DC 20004-2595
                                              Tel: 202-624-2500
                                              Fax: (202) 628-5116

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                            Email: Troman@crowell.com
                            Email: Lmalson@crowell.com
                            Email: Swinkelman@crowell.com
                            Email: Aheaven@crowell.com

                            Attorneys for Defendant Howard University




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